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                       UNITED STATES BANKRUPTCY COURT
                          DISTRICT OF NORTH DAKOTA


In re:

Vortex Drain Tiling LLC,                                    Bky. Case No. 16-30672
                                                            Chapter 7
             Debtor.


                    RESIGNATION AND REPORT OF TRUSTEE


The undersigned hereby resigns as trustee and makes this Report of Trustee.

      1.      Attached as Form 1 is an accounting of the trustee’s disposition of all
property of the estate prior to the trustee’s resignation.

      2.     Attached as Form 2 is an itemized statement of the trustee’s receipts and
disbursements showing total receipts of $5,053.83 and disbursements of $30.00 and a
balance on hand of $ 5,023.83.

       3.     Upon being notified of the appointment of a successor trustee, the trustee
shall immediately turn over the balance of the funds on hand and all estate financial
records to the successor trustee and submit zero balance bank statements and cancelled
checks to the United States Trustee.

      WHEREFORE, the trustee requests that this report be accepted and that I be
discharged from any further duties as trustee.



DATE: December 8, 2017                         /s/ Erik A. Ahlgren
                                               Erik A. Ahlgren, Trustee
                                               220 W Washington Ave, Ste 105
                                               Fergus Falls, MN 56537
                                               218-998-2775
                                               erik@ahlgrenlaw.net
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                                                                                  Form 1
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                                                              Individual Estate Property Record and Report
                                                                               Asset Cases
Case No.:    16-30672                                                                                                           Trustee Name:      (430231) Erik Ahlgren
Case Name:     VORTEX DRAIN TILING LLC                                                                                          Date Filed (f) or Converted (c): 12/28/2016 (f)
                                                                                                                                § 341(a) Meeting Date:     02/16/2017
For Period Ending:      12/08/2017                                                                                              Claims Bar Date: 05/22/2017

                                               1                                          2                            3                          4                        5                    6

                                       Asset Description                               Petition/               Estimated Net Value         Property Formally         Sale/Funds            Asset Fully
                            (Scheduled And Unscheduled (u) Property)                 Unscheduled          (Value Determined By Trustee,       Abandoned            Received by the      Administered (FA)/
                                                                                        Values               Less Liens, Exemptions,      OA=§554(a) abandon.          Estate            Gross Value of
                                                                                                                 and Other Costs)                                                       Remaining Assets

  Ref. #

    1       Insurance premium refund (u) (u)                                                    25.00                             25.00                                         25.00                        FA

    2       Account at Checking account Citizens Community Credit Union                            0.00                            0.00                                          0.00                        FA

    3       Security deposit paid to Born to Run LLC                                          1,500.00                        1,500.00                                           0.00               1,500.00

    4       A/R 90 days old or less. Face amount = $81,598.52.                            81,598.52                         81,598.52                                            0.00           81,598.52
            Doubtful/Uncollectible accounts = $0.00.

    5       A/R 90 days old or less. Face amount = $0.                                             0.00                            0.00                                          0.00                        FA
            Doubtful/Uncollectible accounts = $0.

    6       A/R 90 days old or less. Face amount = $394,431.25.                          394,431.25                        394,431.25                                            0.00         394,431.25
            Doubtful/Uncollectible accounts = $0.00.

    7       A/R 90 days old or less. Face amount = $60,281.13.                            60,281.13                         60,281.13                                            0.00           60,281.13
            Doubtful/Uncollectible accounts = $0.00.

    8       A/R 90 days old or less. Face amount = $0.                                             0.00                            0.00                                          0.00                        FA
            Doubtful/Uncollectible accounts = $0.

    9       Desk.                                                                              200.00                           200.00                                           0.00                        FA

   10       Copier.                                                                            200.00                           200.00                                           0.00                        FA

   11       2014 Excavator Caterpillar - Serial #FJX01176.                               135,181.00                        135,181.00                                            0.00         135,181.00

   12       Screen FMX - Serial #5407585598.                                              12,000.00                         12,000.00                                            0.00           12,000.00
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                                                                                     Form 1
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                                                                 Individual Estate Property Record and Report
                                                                                  Asset Cases
Case No.:    16-30672                                                                                                             Trustee Name:      (430231) Erik Ahlgren
Case Name:      VORTEX DRAIN TILING LLC                                                                                           Date Filed (f) or Converted (c): 12/28/2016 (f)
                                                                                                                                  § 341(a) Meeting Date:     02/16/2017
For Period Ending:       12/08/2017                                                                                               Claims Bar Date: 05/22/2017

                                                  1                                          2                           3                          4                        5                      6

                                          Asset Description                               Petition/              Estimated Net Value         Property Formally         Sale/Funds              Asset Fully
                               (Scheduled And Unscheduled (u) Property)                 Unscheduled         (Value Determined By Trustee,       Abandoned            Received by the        Administered (FA)/
                                                                                           Values              Less Liens, Exemptions,      OA=§554(a) abandon.          Estate              Gross Value of
                                                                                                                   and Other Costs)                                                         Remaining Assets

  Ref. #

   13       2015 289D Caterpillar Skid Loader - Serial #C AT0289D KT                         60,000.00                        60,000.00                                             0.00            60,000.00
            AW03169.

   14       316 EL Caterpillar Excavator - Serial #CZW00147.                                133,000.00                       133,000.00                                             0.00          133,000.00

   15       966K Caterpillar Wheel Loader - Serial #TFS00170.                               192,010.00                       192,010.00                                             0.00          192,010.00

   16       950K Caterpillar Wheel Loader w/ Attachments - Serial                           129,000.00                       129,000.00                                             0.00          129,000.00
            #FER00182.

   17       Puma Loader International.                                                       15,000.00                        15,000.00                                             0.00            15,000.00

   18       2013 Puma 160 International S/N ZCBP19385.                                      112,500.00                       112,500.00                                             0.00          112,500.00

   19       Lots 3 and 4, Block 2, Senske's Second Addition to the City of                  147,000.00                       124,117.02                                             0.00          147,000.00
            Grand Forks, Grand Forks County, ND, Contract for Deed

   20       Workers' Compensation premium refund (u (u)                                          3,313.00                       3,313.00                                         3,313.00                        FA

   21       Garnishment fee (u) (u)                                                                25.00                            25.00                                          25.00                         FA

   22       Insurance premium refund (u (u)                                                      1,762.39                       1,762.39                                         1,762.39                        FA

   23       Van trailer. (u)                                                                     4,000.00                       4,000.00                                            0.00                4,000.00

   24       Cat 365 CL Excavator. (u)                                                       250,000.00                       250,000.00                                             0.00          250,000.00

   25       Mision Trailer. (u)                                                                  2,500.00                       2,500.00                                            0.00                2,500.00
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                                                                Individual Estate Property Record and Report
                                                                                 Asset Cases
Case No.:     16-30672                                                                                                               Trustee Name:      (430231) Erik Ahlgren
Case Name:      VORTEX DRAIN TILING LLC                                                                                              Date Filed (f) or Converted (c): 12/28/2016 (f)
                                                                                                                                     § 341(a) Meeting Date:     02/16/2017
For Period Ending:        12/08/2017                                                                                                 Claims Bar Date: 05/22/2017

                                                 1                                              2                           3                          4                        5                        6

                                         Asset Description                                   Petition/              Estimated Net Value         Property Formally         Sale/Funds                Asset Fully
                              (Scheduled And Unscheduled (u) Property)                     Unscheduled         (Value Determined By Trustee,       Abandoned            Received by the          Administered (FA)/
                                                                                              Values              Less Liens, Exemptions,      OA=§554(a) abandon.          Estate                Gross Value of
                                                                                                                      and Other Costs)                                                           Remaining Assets

  Ref. #

   26       Copier. (u)                                                                             1,000.00                       1,000.00                                            0.00                           FA

   27       Tools: jumpring jack, concrete saws. (u)                                            10,000.00                        10,000.00                                             0.00              10,000.00

   27       Assets            Totals       (Excluding unknown values)                      $1,746,527.29                   $1,723,644.31                                        $5,125.39          $1,740,001.90



        Major Activities Affecting Case Closing:
                                    Evaluating transfers in the year prior to bankruptcy filing, and ownership of unsecured business equipment(Bergian note)
                                    9-25-17 trustee review of case; email to DA requesting documents and information
                                    9-26-17 trustee email to DA re IRS call about bond supporting payment due to Vortex
                                    11-13-17 filed app to employ realtor
                                    11-13-17 emailed listing agreement to realtor re sale of property in ND
                                    11-30-17 filed app to employ attorney-Burton
                                    12-5-17 T/C with M. Roerick ND DOL re status of payments on wage claims filed.

        Initial Projected Date Of Final Report (TFR):                    06/30/2018                             Current Projected Date Of Final Report (TFR):                       06/30/2018
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                                                           Cash Receipts And Disbursements Record

Case No.:                    16-30672                                                                   Trustee Name:                 Erik Ahlgren (430231)
Case Name:                   VORTEX DRAIN TILING LLC                                                    Bank Name:                    Rabobank, N.A.
Taxpayer ID #:               **-***6401                                                                 Account #:                    ******2000 Checking
For Period Ending:           12/08/2017                                                                 Blanket Bond (per case limit): $0.00
                                                                                                        Separate Bond (if applicable): N/A



        1                2                        3                                                 4                                        5                    6                      7

   Transaction       Check or           Paid To / Received From                Description of Transaction             Uniform          Deposit               Disbursement        Account Balance
      Date            Ref. #                                                                                         Tran. Code          $                         $

   09/18/2017                   Transfer of Funds to Successor          Transfer of Funds to Successor Trustee       1290-002                5,053.83                                        5,053.83
                                Trustee
   09/29/2017                   Rabobank, N.A.                          Bank and Technology Services Fees            2600-000                                         10.00                  5,043.83

   10/31/2017                   Rabobank, N.A.                          Bank and Technology Services Fees            2600-000                                         10.00                  5,033.83

   11/30/2017                   Rabobank, N.A.                          Bank and Technology Services Fees            2600-000                                         10.00                  5,023.83

                                                                  COLUMN TOTALS                                                                   5,053.83             30.00                 $5,023.83
                                                                        Less: Bank Transfers/CDs                                                      0.00              0.00
                                                                  Subtotal                                                                        5,053.83             30.00
                                                                        Less: Payments to Debtors                                                                       0.00
                                                                  NET Receipts / Disbursements                                                   $5,053.83            $30.00




{ } Asset Reference(s)                                                                                                                                             ! - transaction has not been cleared
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                                                        Cash Receipts And Disbursements Record

Case No.:                  16-30672                                                  Trustee Name:                 Erik Ahlgren (430231)
Case Name:                 VORTEX DRAIN TILING LLC                                   Bank Name:                    Rabobank, N.A.
Taxpayer ID #:             **-***6401                                                Account #:                    ******2000 Checking
For Period Ending:         12/08/2017                                                Blanket Bond (per case limit): $0.00
                                                                                     Separate Bond (if applicable): N/A


                                        Net Receipts:             $5,053.83
                           Plus Gross Adjustments:                   $0.00
                         Less Payments to Debtor:                    $0.00
                 Less Other Noncompensable Items:                 $5,053.83

                                          Net Estate:                $0.00




                                                                  TOTAL - ALL ACCOUNTS                    NET DEPOSITS      NET DISBURSEMENTS ACCOUNT BALANCES
                                                                  ******2000 Checking                             $5,053.83              $30.00         $5,023.83

                                                                                                                    $5,053.83              $30.00         $5,023.83
